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             UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                  GAINESVILLE DIVISION

KARON WARREN, DEBORAH
KAPLAN, KIMBERLY KAVIN, and                  No. 2:24-CV-0007-RWS
JENNIFER SINGER,

                Plaintiffs,
          v.

UNITED STATES DEPARTMENT OF
LABOR; JULIE SU, as the acting U.S.
Secretary of Labor; ADMINISTRATOR
JESSICA LOOMAN, as the head of the
U.S. Department of Labor’s Wage and
Hour Division; and
U.S. DEPARTMENT OF LABOR,
WAGE AND HOUR DIVISION,

                Defendants.


            PLAINTIFFS’ MEMORANDUM OF LAW
     IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                              INTRODUCTION
      Plaintiffs are four freelance writers. They have no desire to be employees

and their clients have no desire to employ them. The Department of Labor is

threatening their livelihoods in a new regulation which reimagines the scope

of the Fair Labor Standards Act (FLSA or Act) in order to restrict freelancing

nationwide.

      The FLSA requires employers to pay employees a minimum wage and

overtime, but it does not provide clear definitions for key terms. For example,

the Act only covers employees, but fails to explain how to distinguish

“employees” from other types of workers, like independent contractors.

Answering this question is essential for businesses to avoid unwanted liability,

and freelancers must ensure they know how to remain independent to protect

their clients. This issue has become more salient as independent contracting

has become a more common way for people to earn a living.

      In 2021, in the waning days of the Trump Administration, DOL

promulgated a rule—through notice and comment rulemaking—adopting an

interpretation of the FLSA that provided clear guidance to businesses and

contractors alike. Comments from independent contractors indicated

overwhelming support, appreciating the rule’s clarity and uniformity in a

confusing and difficult area of the law.




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      Despite the rule’s clarity and consistency with the statute, the

Department of Labor has now turned in the opposite direction. In January

2024, the Department announced it would be withdrawing the 2021 Rule and

replacing it with a confusing and vague “know-it-when-we-see-it” rule based

on cherrypicked statements drawn from 70 years of circuit court caselaw.

When a federal agency completely changes its view of a statute, it must, at the

very least, provide “good reasons” for such a change. See FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2009).

      The agency not only lacks good reasons for its changes, but it relies

almost exclusively on an incorrect understanding of the FLSA to justify all its

actions. This mistaken legal understanding alone is enough reason to set the

rule aside. See Sec. & Exch. Comm’n v. Chenery Corp., 318 U.S. 80, 94 (1943).

Furthermore, the Department’s replacement rule is so deliberately vague that

it cannot be a reasonable reading of the FLSA, particularly since the

Department claims—illogically—that the purpose of the rule is to increase

clarity. The rule must be set aside.

                               BACKGROUND
I.    The Fair Labor Standards Act
      The Fair Labor Standards Act (FLSA), established in 1938, is the

premier federal labor law. The FLSA provides that certain employees are

entitled to a minimum wage and overtime pay. Employers who fail to provide


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these benefits to their employees are potentially subject to criminal penalties

and substantial civil liability. 29 U.S.C. §§ 201–219.

      Despite the importance of this law, its scope is uncertain and has

resulted in frequent litigation. In its 2021 Rule, the Department estimated that

uncertainty over independent contractor status generated almost 10% of all

FLSA litigation, totaling approximately 700 cases a year. Independent

Contractor Status Under the FLSA, 86 Fed. Reg. 1168, 1234 (Jan. 7, 2021).

      A. The text and history of the FLSA
      “Independent contracting” is not new; the First Restatement of Agency

defined an “independent contractor” as “a person who contracts with another

to do something for him but who is not controlled by the other nor subject to

the other’s right to control with respect to his physical conduct in the

performance.” Restatement (First) of Agency § 2 (1933). The Restatement

contrasts this relationship with a “servant,” defined as “a person employed by

a master to perform service in his affairs whose physical conduct in the

performance of the service is controlled or is subject to the right to control by

the master.” Id.

      Although the concept was well known, the FLSA did not mention

independent contractors. Instead, the law provides only tautological

definitions for “employee” and “employer.” See 29 U.S.C. § 203(d) (“‘Employer’

includes any person acting directly or indirectly in the interest of an employer

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in relation to an employee … but does not include any labor organization”); 29

U.S.C. § 203(e)(1) (“Except as provided [in certain specified contexts] the term

‘employee’ means any individual employed by an employer.”). While the law

requires “employer[s]” to “pay to each of his employees” a minimum wage, and

also prohibits “employer[s]” from “employ[ing]” any “employee” in a workweek

longer than forty hours without paying time-and-a-half, 29 U.S.C. §§ 206(a),

207(a)(1), it does not impose any obligations on companies for their work with

independent contractors. But there is also no test in the text for distinguishing

between employees and independent contractors.

      B. Supreme Court precedent on employment and independent
         contracting
      Despite no mention of independent contracting in the FLSA, the

Supreme Court has long recognized that not every person providing a service

is an employee, and there is a place for independent contracting outside the

scope of the FLSA. See Rutherford Food Corp. v. McComb, 331 U.S. 722, 729

(1947). However, the Court has not articulated a clear test. This doctrinal void

has created significant uncertainty.

      In a handful of cases from the late 1940’s, the Supreme Court explored

the scope of the employer-employee relationship under three different federal

statutes: the National Labor Relations Act (NLRA), the Social Security Act,

and lastly, the FLSA itself. In the first of these cases, NLRB v. Hearst


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Publications, Inc., 322 U.S. 111 (1944), the Court considered whether the

NLRA, which governs unions and collective bargaining, required Los Angeles

area daily newspapers to bargain collectively with newsboys who distributed

their papers, who they maintained were not their employees. Id. at 113. The

Court held that Congress was trying to create a “broad solution,” “so far as its

power could reach,” and that employment should apply where “the conditions

of the relation require protection.” Id. at 125–29.

      The Supreme Court considered the issue again in United States v. Silk,

331 U.S. 704 (1947), which addressed the distinction between employees and

independent contractors under the Social Security Act. The Court addressed

whether coal unloaders and truckers were independent contractors or

employees. The Court discussed several factors that could be important for

deciding which workers were independent contractors versus employees:

“degrees of control, opportunities for profit or loss, investment in facilities,

permanency of relation and skill required in the claimed independent

operation.” Id. at 716. The Court stated that there may be other factors and

that no factor could be controlling. Id. Reviewing the facts, the Court held the

unloaders were employees, but the truckers, because they owned their own

trucks and controlled the work, were independent. Id. at 718–19.

      The same day Silk was decided, the Court also decided Rutherford, which

was the first Supreme Court case to evaluate whether a worker was an

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employee or independent contractor under the FLSA. There, the Court

determined that meat boners, working on an assembly line, were employees

under the FLSA. 331 U.S. at 728–29. Although the Court relied expressly on

Hearst and Silk, Rutherford did not adopt any particular test and did not recite

the “factors” listed in Silk.

      Rutherford has been the definitive statement on the line between

independent contractor and employee under the FLSA since 1947, but its

opacity and split from the common law created considerable uncertainty. To

add to the uncertainty, Congress immediately undermined the doctrinal

foundations of Rutherford by amending the NLRA mere days after Rutherford

was decided, completely abrogating Hearst. See NLRB v. United Ins. Co. of

Am., 390 U.S. 254, 256 (1968) (recognizing abrogation). About a year later,

Congress abrogated Silk in the same way. See 42 U.S.C. § 410(j) (“The term

‘employee’ [under the SSA] means ... any individual who, under the usual

common law rules applicable in determining the employer-employee

relationship, has the status of an employee.”).

      Since the 1940’s, the Supreme Court has not directly considered the

FLSA classification question, nor mandated any specific set of factors to be

considered to determine whether a worker is employed for purposes of the

FLSA. See Independent Contractor Status Under the FLSA, 85 Fed. Reg.

60,600, 60,602 (Sept. 25, 2020).

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      Lacking clear Supreme Court guidance, lower courts (prior to the 2021

Rule) have settled on applying a version of the Silk test to answer this question,

which they refer to as the “economic reality test.” Various courts articulate

different variations on this test, but the Eleventh Circuit test is typical, relying

on six factors, including

      (1) the nature and degree of the alleged employer’s control …;
      (2) the alleged employee’s opportunity for profit or loss …;
      (3) the alleged employee’s investment in equipment or materials
          required for his task …;
      (4) whether the service rendered requires a special skill;
      (5) the degree of permanency and duration of the working
          relationship;
      (6) the extent to which the service rendered is an integral part of
          the alleged employer’s business.

Scantland v. Jeffry Knight, Inc., 721 F.3d 1308, 1312 (11th Cir. 2013). Courts

often recite that these factors are “not exclusive,” and mere “guides” to the

underlying question of whether a worker is “in business for himself.” Id.

      Despite courts calling this the “economic reality” test, none are able to

articulate “which aspects of ‘economic reality’ matter, and why.” Sec’y of Lab.

v. Lauritzen, 835 F.2d 1529, 1549 (7th Cir. 1987) (Easterbrook, J., concurring).

This test has only been successful at producing litigation and uncertainty.

Resolving this uncertainty has become more important as independent

contracting becomes more prominent in the wider economy. See 86 Fed. Reg.

at 1175.



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II.   Agency Actions
      Despite the Supreme Court’s relative silence, until 2021, DOL never

promulgated a uniform statement of the scope of the FLSA. Instead, DOL has

only issued intermittent “opinion letters” and “fact sheets.” See 85 Fed. Reg. at

60,604. These opinion letters and fact sheets have articulated various

formulations of the economic reality test, derived from the Supreme Court’s

language in Silk and circuit court opinions on the issue. For example, in Fact

Sheet #13, originally issued in 1997, WHD listed seven factors as significant

but stated that “it is the total activity or situation which controls.” 1 None of

these prior agency actions involved notice and comment, and none were

codified in the C.F.R.

         A. The Department’s 2021 Rule
      Recognizing the void in definitive guidance, in early 2021, DOL

promulgated a final rule after notice and comment addressing independent

contractor status. 86 Fed. Reg. at 1172. The test adopted by the agency was

based on a thorough review of case law and sought to “clarify and sharpen” the

focus of the economic reality test. Id. Based on that analysis, DOL determined

that two “core” factors—the nature and degree of control over work and the

individual’s opportunity for profit or loss—were the “most probative” of


1 WHD Fact Sheet #13 (1997),

https://web.archive.org/web/19970112162517/http:/www.dol.gov/dol/esa/public
/regs/compliance/whd/whdfs13.htm.
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whether a worker was truly independent. Id. at 1246–47. DOL reviewed every

circuit court case since 1975 and determined that where these two factors

pointed in the same direction, courts uniformly had concluded that was the

accurate classification. Id. at 1196–97. Accordingly, the rule provided that

where these core factors were present, “there is a substantial likelihood that is

the individual's accurate classification.” Id. at 1246.

      This prioritization on the core factors in no way discarded the need to

look at the totality of the circumstances. DOL listed three other factors—skill,

permanence, and whether the work is part of an “integrated unit of

production”—but indicated these factors were generally less probative, and, in

some cases, not probative at all. Id. DOL further stated that the “[t]hese factors

are not exhaustive, and no single factor is dispositive.” Id. The ultimate

inquiry, DOL explained, was whether the worker was, “as a matter of economic

reality, in business for him- or herself.” Id.

      B. The Department’s 2024 rule
      After the change in administrations, the Department postponed the

effective date of the 2021 Rule and then issued a final rule, without notice and

comment, withdrawing the 2021 Rule. 86 Fed. Reg. at 24,303. This withdrawal

rule was vacated by a court in Texas because “DOL failed to consider important

aspects of the problem.” See Coal. for Workforce Innovation v. Walsh, No. 1:21-

CV-130, 2022 WL 1073346, at *18–19 (E.D. Tex. Mar. 14, 2022). In particular,

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DOL failed to consider the extent to which the rule provided clarity and

certainty for regulated parties. Id.

       Following this ruling, DOL issued a notice of proposed rulemaking in

late 2022, seeking to withdraw the 2021 Rule and impose a new multi-factor

framework in its place. See Employee or Independent Contractor Classification

Under the FLSA, 87 Fed. Reg. 62,218, 62,218 (Oct. 13, 2022). DOL’s final rule

was published on January 10, 2024, and became effective on March 11, 2024.

The new test is a freewheeling, totality-of-the-circumstances test that employs

seven factors—six numbered factors and one catchall factor. Employee or

Independent Contractor Classification Under the FLSA, 89 Fed. Reg. 1638,

1742–43 (Jan. 10, 2024) (29 C.F.R. § 795.110).

III.   The Impact of the Rule on Plaintiffs’ Businesses
       Plaintiffs are independent contractors whose businesses have been, and

will continue to be, disrupted by the Department’s sudden shift to this

uncertain and volatile policy. They are cofounders of Fight for Freelancers, a

nonpartisan, self-funded, ad hoc coalition of solopreneurs, small business

owners, freelancers, and other independent contractors seeking to protect their

ability to work independently from government overreach. See Warren Decl.

¶ 8; Kavin Decl. ¶ 9; Kaplan Decl. ¶ 7; Singer Decl. ¶ 5. Under that name,




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Plaintiffs filed a comment in the administrative record voicing numerous

concerns with the proposed rule’s effect on their business. 2

      As a result of the rule, Plaintiffs have had to renegotiate contracts,

change business practices, terminate freelancers working for them, and

undertake other expenses to protect themselves and their clients from liability

under the FLSA. See generally Statement of Undisputed Material Facts at

¶¶ 9–12. Plaintiffs’ businesses would benefit from a more certain, clear rule.

The prior rule’s emphasis on core factors and other aspects sharpening the

standard provided predictability for their businesses and for their clients. See,

e.g., Warren Decl. ¶ 11; Kavin Decl. ¶¶ 14–15; Kaplan Decl. ¶ 10; Singer Decl.

¶¶ 7–9. The withdrawal of that rule and the turn to a polar opposite policy has

left Plaintiffs unable to know if their livelihood is legal and unable to protect

their clients.

                          STANDARD OF REVIEW
      Under the Administrative Procedure Act a court must set aside and

vacate agency action if it is not in accordance with law, 5 U.S.C. § 706(2)(A), or

contrary to any constitutional right, power, privilege, or immunity, id.

§ 706(2)(B). Plaintiffs must show that the Department lacked authority for the

Final Rule. The Court must “grant summary judgment if the movant shows



2 See Fight for Freelancers Cmt. (Dec. 12, 2022),

https://www.regulations.gov/comment/WHD-2022-0003-47920.
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that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Plaintiffs are

entitled to declaratory relief to clarify their rights to the extent there is a

justiciable controversy. 28 U.S.C. § 2201.

                                 ARGUMENT
   I.      The Department’s Withdrawal of the 2021 Rule Violates
           the APA
        DOL’s main justification for the withdrawal is that the 2021 Rule

violated the law: DOL essentially argues that the usage of two core factors is

inconsistent with the FLSA. 89 Fed. Reg. at 1647 (“[T]he Department believes

that the 2021 IC Rule did not fully comport with the FLSA’s text and

purpose.”). When an agency acts based on a legal premise, and that premise is

false, the agency’s action must be set aside. See, e.g., Chenery, 318 U.S. at 94.

See also United States v. Ross, 848 F.3d 1129, 1134 (D.C. Cir. 2017) (“Where a

statute grants an agency discretion but the agency erroneously believes it is

bound to a specific decision, we can’t uphold the result as an exercise of the

discretion that the agency disavows.”); Safe Air for Everyone v. U.S. E.P.A., 488

F.3d 1088, 1101 (9th Cir. 2007) (“We have held EPA’s conclusion … legally

erroneous. Because that flawed premise is fundamental … EPA’s outcome on

those statutory interpretation questions is ‘arbitrary, capricious, or otherwise

not in accordance with law.’”); Prill v. NLRB, 755 F.2d 941, 948 (D.C. Cir. 1985)

(“If a regulation is based on an incorrect view of applicable law, the regulation

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cannot stand ….”). Here, for all the many reasoned justifications stated in

DOL’s 2021 Rule, it was plainly consistent with a fair reading of the FLSA.

This alone is enough reason to set aside the withdrawal.

      Beyond its flawed legal justification, DOL argues that withdrawing the

2021 Rule will “reduce[] confusion” while providing “clarity.” 89 Fed. Reg. at

1648–49; 1653–56, 1661, 1739. This justification is nonsense. The 2021 Rule

had the clarity of the core factors. The new rule mandates a rudderless test

with no guidance and no prioritization. This refusal to consider the previous

rule’s primary benefits in this area while running in the opposite direction

violates the APA. See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal.,

140 S. Ct. 1891, 1910–11 (2020); Motor Vehicle Mfrs. Ass’n of United States,

Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 44 (1983).

         A. The withdrawal is based on a flawed legal understanding
            the FLSA and the 2021 Rule itself
      The agency’s justification for withdrawing the 2021 Rule is based on a

legal conclusion that the Rule’s use of core factors violates the FLSA. As the

Department stated in the NPRM announcing the withdrawal, “giving extra

weight to two factors cannot be harmonized with decades of case law and

guidance from the Department.” 87 Fed. Reg. at 62,226. The Department was

explicit that this legal conclusion overrode any other considerations:

“[R]egardless of the rationale for elevating two factors, there is no legal support


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for doing so.” Id. The Department’s legal conclusion was repeatedly reaffirmed

throughout the final rule. See, e.g., 89 Fed. Reg. at 1638–39, 1647, 1663–64.

      The DOL’s rejection of its own past analysis is fatally flawed for two main

reasons. First, the 2021 Rule’s use of “core” factors is wholly consistent with

Supreme Court precedent on the FLSA and was expressly based on a careful

reading and synthesis of those principles against the background of decades of

circuit court precedent. The DOL’s explanation for its withdrawal rule makes

no attempt to synthesize these cases, but instead emphasizes courts’ recitation

of a totality of the circumstances test, divorced from the context of those

decisions.

      Second, under a fair reading of the FLSA, control and opportunity for

profit are correctly considered more probative of whether a worker is an

“employee” than any other factors. The 2021 Rule properly focuses its statutory

interpretation on this fundamental question. DOL’s only answer to this is to

fall back on the FLSA’s “remedial purpose.” But the Supreme Court has

rejected this principle as a “useful guidepost for interpreting the FLSA.”

Encino Motorcars, LLC v. Navarro, 584 U.S. 79, 89 (2018).

         1. The 2021 Rule complied with and synthesized case law
      DOL misinterprets both case law and the 2021 Rule when it says that

the 2021 Rule is “contrary” to precedent. 89 Fed. Reg. at 1644, 1650–51. That

precedent is primarily Rutherford, and that case did not articulate a particular

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test or procedure. Relying on Hearst and Silk, Rutherford explained that the

act’s scope must be broader than the common law agency relationship and that

courts must consider the “circumstances of the whole activity.” 331 U.S. at 730.

There is no question that the withdrawn rule is broader than the common law

control test—on its face it considers as core both control and opportunity for

profit, alongside three other factors. 86 Fed. Reg. at 1246–47. Considering two

factors as “more probative” does not “effectively (and impermissibly) adopt[] a

common law test for independent contractor status.” 89 Fed. Reg. at 1650. The

2021 Rule also leaves the door open to consider all the circumstances, 86 Fed.

Reg. at 1246 (“These factors are not exhaustive, and no single factor is

dispositive.”), and instructs that the core factors analysis is subsidiary to the

overarching economic dependence inquiry. Id.

      The need to consider all the circumstances does not require weighing

factors “equally,” as the 2021 Rule recognized. See 86 Fed. Reg. at 1201 (“While

all circumstances must be considered, it does not follow that all circumstances

or categories of circumstance, i.e., factors, must also be given equal weight.”).

As Rutherford itself shows, the Court has always understood that some facts

are more significant than others. Even in Silk, the very case that announced

the five economic reality factors, the Court did not treat those factors equally.

Silk, 331 U.S. at 716. Instead, the Court emphasized the most probative

factors, such as control and the opportunity for profit, while de-emphasizing

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insignificant facts, like the hours worked. Id. at 719. Similarly, in Rutherford,

the Court emphasized particular facts as more probative, and emphasized

those facts—in particular, facts relating to control and supervision. 331 U.S.

at 730–31. Accordingly, the 2021 Rule is faithful to both the analysis and the

outcomes in Rutherford and Silk, while providing stakeholders with additional

guidance and prioritization.

      DOL’s counterargument conversely focuses on cherry-picked language in

subsequent circuit court decisions. But the 2021 Rule extensively analyzed

those cases too. It evaluated every appellate court decision going back to 1975

and found that in every case where “opportunity for profit” and “control”

pointed toward the same classification, courts identified that as the correct

classification. 86 Fed. Reg. at 1196–97. DOL does not meaningfully contest this

analysis, instead relying on the hortatory recitation of the “totality of the

circumstances” language from those cases. But scattered statements from

circuit courts over 70 years do not control the Department’s understanding of

the FLSA. Rather, the Department’s role is to interpret the statute and provide

guidance to the regulated community.

      Ultimately, DOL’s flaw in its 2024 Rule is prioritizing the gloss applied

to the FLSA by lower courts as predominating over its obligation to synthesize

those cases into a coherent and useful whole. An agency acts arbitrarily where



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it does not “appreciate the full scope of [its] discretion.” Regents, 140 S. Ct. at

1910–11.

         2. DOL’s withdrawal ignores the need to give the FLSA a
            “fair reading”
      The 2021 Rule answers the fundamental statutory question—whether a

worker is “employed” or not. 29 U.S.C. § 203. DOL’s belief that the rule conflicts

with the FLSA rests on substituting the statutory purpose and circuit court

dicta over the statutory text, which DOL barely considers at all.

      For decades, courts and the Department rested expansive, atextual

interpretations of the FLSA on the statute’s alleged remedial purpose. But in

a case concerning the scope of an FLSA exemption for car dealership

employees, the Supreme Court squarely rejected that “remedial purpose” could

be a useful guidepost for interpreting the FLSA. Encino Motorcars, LLC v.

Navarro, 584 U.S. 79, 89 (2018). In the wake of Encino Motorcars, there is no

question that the FLSA—including provisions governing its scope—must be

read “fairly.” See Blanco v. Samuel, 91 F.4th 1061, 1071 (11th Cir. 2024) (“In

the past, courts had construed the exemptions narrowly against the employers

asserting them …. But we no longer do so after the Supreme Court’s decision

in Encino Motorcars, LLC v. Navarro ….”); Hernandez v. Plastipak Packaging,

Inc., 15 F.4th 1321, 1330 (11th Cir. 2021) (recognizing courts must give the

whole FLSA “a fair reading”).


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       Applying that fair reading principle, the 2021 Rule correctly

understands that the core question being asked is how to interpret statutory

terms, in particular, the terms “employee” and “employer.” The plain text of

the law uses the words “employee” and “employer” without further meaningful

explication, suggesting that Congress meant to incorporate, in some way, the

long-established understanding of those terms. See Bond v. United States, 572

U.S. 844, 857 (2014) (“Part of a fair reading of statutory text is recognizing that

Congress     legislates   against   the    backdrop   of      certain    unexpressed

presumptions.”). While Rutherford forbids courts from adopting the common

law test, it cannot discard the statutory language. Since the fundamental

statutory question is whether a worker is “employed” or not, the presence or

absence of facts which would suggest a common law employment relationship

is clearly more relevant to that determination than most other factors. In the

2021    Rule,   the   Department    acknowledged      this,    and      explained   its

interpretation was based, in part, on “commonsense logic that, when

determining whether an individual is in business for him- or herself, the extent

of the individual’s control over his or her work is more useful information than,

for example, the skill required for that work.” 86 Fed. Reg. at 1199.

       The Department’s withdrawal fails to even address this point. Instead,

the Department again retreats to random circuit court quotations, along with

the principle—rejected in Encino Motorcars—that the purpose of the FLSA

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requires a broad interpretation. 3 See 89 Fed. Reg. at 1668 n.221. See also id. at

1640 (emphasizing importance of FLSA’s purpose in withdrawal); 1647; 1649;

1661; 1668; 1724; 1725; 1726 (same).

      But in this overarching and repeated reliance on statutory purpose the

Department is in direct conflict with a recent Supreme Court case. This error

of law, alone, requires the rule be set aside. See Chenery, 318 U.S. at 94.

         B. The withdrawal fails to consider clarity and certainty for
            the regulated community
      Besides being a fair reading of the language of the statute, the 2021 Rule

offered stakeholders clarity and allowed workers and employers to know their

obligations. DOL’s withdrawal fails to consider this type of regulatory

certainty. This major gap in DOL’s analysis renders its withdrawal arbitrary

and capricious. Motor Vehicle Mfrs. Ass’n, 463 U.S. at 56.

      As the Supreme Court has explained, agency interpretations must have

“sufficient definiteness that ordinary people can understand what conduct is

prohibited” and in a way so as to discourage “arbitrary and discriminatory

enforcement.” Sackett v. EPA, 598 U.S. 651, 680–81 (2023). In Sackett, which

concerned the scope of the Clean Water Act, the Supreme Court rejected the



3 In the Department’s only reference to Encino Motorcars, it argues that the

case should be read to apply only to FLSA “exemptions” and not “definitions.”
89 Fed. Reg. at 1668 n.221. But the Eleventh Circuit has already rejected the
argument that Encino Motorcars is so limited. See Hernandez, 15 F.4th at
1329.
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“hopelessly indeterminate” standard advanced by the EPA for determining the

scope of the “waters of the United States.” Id. Facing the threat of “severe

criminal sanctions,” the Court observed that landowners were left to “feel their

way on a case-by-case basis” as to whether their waters were covered by the

Act. Id. The Court observed that this interpretation ran up against the

“background principle[] of construction” that statutes should be interpreted to

avoid vagueness problems. Id. at 679.

      The FLSA is a criminal statute which governs millions of employers and

affects many millions more employees. By 2021, after seventy years of

sprawling case law, with no clarity added by the Department or by the

Supreme Court, the so-called economic reality test was creating unnecessary

confusion and litigation. To correct this problem, the 2021 Rule placed the

focus on two core factors—instead of the unfocused inquiry into five, six, or

seven contradictory and confusing factors often applied in case law. See 86 Fed.

Reg. at 1172–75. It did not discard other facts as potentially important in the

right circumstance, but it is axiomatic that prioritizing two factors is simpler

than an unfocused and unweighted six-factor totality of the circumstances test.

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 136 (2014)

(observing that “open-ended balancing tests[] can yield unpredictable and at

times arbitrary results”). Unsurprisingly, therefore, the “overwhelming



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majority” of independent contractors who commented on the 2021 Rule

supported it. 86 Fed. Reg. at 1171–72.

      By contrast, in its decision to withdraw the rule DOL gave no weight to

this clarity for stakeholders. Instead, DOL asserted that the clarity of the 2021

Rule was outweighed by uncertainty in the extent to which federal courts

would agree with DOL’s interpretation. 89 Fed. Reg. at 1639 (“Because the

2021 IC Rule departed from legal precedent, it was not clear whether courts

would adopt its analysis … resulting in more uncertainty as to the applicable

test.”). But this response is unavailing for at least three reasons.

      First, the 2021 Rule bound the agency itself in its capacity as an enforcer

of the FLSA and offered safe harbor to businesses who relied on its guidance.

86 Fed. Reg. at 1246. Accordingly, the 2021 Rule—by its very terms—offered

at least some certainty and protection to businesses. If a court had chosen not

to adopt the 2021 Rule’s analysis, or even if a court were to set the rule aside,

those businesses would still have been able to claim safe harbor and protection

from DOL enforcement.

      Second, the concerns about court reactions to the 2021 Rule are baseless.

No court meaningfully questioned the substance of its reasoning in the three

years it was in effect—although DOL correctly notes that a handful of courts

reacted to DOL’s ongoing recission as a reason to doubt the validity of the rule.

89 Fed. Reg. at 1655 n.150. Indeed, the only court decision to address the

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substance of the 2021 Rule recognized that the rule was “consistent with the

existing case law.” Coalition for Workforce Innovation, 2022 WL 1073346, at

*16–17. The Department does nothing to show that a hypothetical litigation

risk outweighs the benefits to stakeholders of a more concrete standard.

      Third, any “uncertainty” that might exist from the possibility that courts

would fail to adopt the rule simply has no bearing on the Due Process-type

concerns that the 2021 Rule is addressing. It is a non-sequitur. The

Department has an obligation under the Constitution to promulgate an

interpretation that allows parties to conform their conduct to the law. The

Department cannot respond to this responsibility by pointing to hypothetical

prudential considerations about future court action. And this is especially true

since the Department is walking headlong into several serious legal challenges

to its own rule. If litigation over the scope of the FLSA was inevitable, the

Department cannot claim that avoiding litigation as a reason for to its rule to

abandon the benefits of clarity.

II.   The Department’s Replacement Rule Violates the APA
      Beyond the myriad problems with the withdrawal of the 2021 Rule,

DOL’s replacement rule—a novel, seven-factor totality of the circumstances

test never before articulated by any court—rests on mistakes of law and

inadequate justification and thus violates the APA. This freewheeling test

presents businesses and contractors with an impossible Justice Potter Stewart

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“know-it-when-we-see-it” inquiry. Simultaneously, the Department rewrites

70 years of FLSA precedent with its own preferred and cherry-picked story, all

while claiming—without support—that its rule will provide “clarity on the

concept of economic dependence.” 89 Fed. Reg. at 1649. This lack of internal

consistency is the hallmark of arbitrary and capricious action. See, e.g., Illinois

Pub. Telecomms. Ass’n v. FCC, 117 F.3d 555, 566 (D.C. Cir. 1997) (“seemingly

illogical” decisions are arbitrary and capricious).

      The Department of Labor has replaced the 2021 Rule with a rule that,

like the rule overturned by the Supreme Court in Sackett, is “freewheeling”

and forces regulated parties to feel their way “case-by-case.” Id. at 680. The

revised C.F.R. mentions the “totality of the circumstances” or “circumstances

of the whole activity” multiple times; it says “no one factor or subset of factors”

is dispositive; the rule gives no guidance on the weight to be given to particular

factors even in particular circumstances; and the rule specifically has a

seventh factor which opens the door to every other possible fact, stating that

“[a]dditional factors may be relevant” if those factors “in some way” are

relevant to the inquiry. 29 C.F.R. §§ 795.105–110. Stakeholders are left with

no indication of how to balance these factors against each other or how to

prioritize particular facts within the factors. The Department does not even try

to explain or justify this approach, wrongly implying that a standardless



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balancing test is compelled by the FLSA. This is an utter abdication of the

Department’s duty to interpret the statute.

      Furthermore, the Department engages in repeated misinterpretation

and cherry-picking to artificially place a thumb on the scale against

independent contractor status. For example, under the control factor, DOL

makes major changes to the way courts and the Department previously

understood the “control” factor, diminishing the importance of that factor and

expanding the concept to increase the number of workers classified as

employees. 89 Fed. Reg. at 1670. The Department’s rule now states that control

relates to the “the performance of the work and the economic aspects of the

working relationship”—a phrase that appears nowhere in Silk, Rutherford, or

any circuit court case. Id. at 1743. Similarly, DOL warps the “integral” factor—

previously the “integrated unit of production” factor—now stating that this

factor weighs against independent contractor status if the work is “critical,

necessary, or central” to the business. Id. Again, this language does not appear

in any Supreme Court case—the Department relies on context-free references

to circuit courts that used similar language, even if it was not essential to those

courts’ holdings. Id. at 1655. Justifications for major changes based solely on

isolated, out-of-context circuit quotations are replete in the rule and cannot be

considered reasoned decision-making or statutory interpretation.



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      Agencies cannot promulgate “vague and open-ended regulations that

they can later interpret as they see fit.” See Christopher v. SmithKline

Beecham Corp., 567 U.S. 142, 158 (2012). As discussed above, the Supreme

Court has stated unequivocally that agency interpretations of criminal

statutes must have “sufficient definiteness that ordinary people can

understand what conduct is prohibited” and interpretations should discourage

“arbitrary and discriminatory enforcement.” Sackett, 598 U.S. at 680–81

(citation omitted). The Department’s mess of a rule falls into precisely this

trap, and it does so while stating its purpose is to increase clarity. This is

simply not credible, particularly while the Department unilaterally discards

all the precedent it does not like to erect its preferred, cherry-picked history of

the scope of the FLSA.

                                CONCLUSION
      For each of the reasons set forth above, this Court should grant Plaintiffs’

motion for summary judgment and declare unlawful and set aside DOL’s

rescission of the 2021 Rule and its promulgation of the 2024 Rule; declare that

the 2021 Rule is still in effect; and enjoin DOL from enforcing the 2024 Rule.




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    DATED: April 29, 2024.

                                     Respectfully submitted,
/s/ Edward Bedard                    /s/ Wilson C. Freeman________
EDWARD BEDARD                        WILSON C. FREEMAN
Ga. Bar No. 926148                   Ariz. Bar. No. 036953*
Robbins Alloy Belinfante Littlefield LUKE A. WAKE
LLC                                  Cal. Bar No. 264647*
500 14th Street, NW                  Pacific Legal Foundation
Atlanta, Georgia 30318               555 Capitol Mall, Suite 1290
Telephone: (404) 856-3263            Sacramento, California 95814
Facsimile: (404) 856-3255            Telephone: (916) 419-7111
Email: ebedard@robbinsfirm.com       Facsimile: (916) 419-7747
                                     Email: wfreeman@pacificlegal.org
                                     Email: lwake@pacificlegal.org

                                    *Pro Hac Vice

                          Counsel for Plaintiffs




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          CERTIFICATE OF COMPLIANCE WITH LR 7.1(D)

     Counsel for Plaintiffs hereby certifies that this brief has been prepared

in 13-point, Century Schoolbook font.


                                             /s/ Wilson C. Freeman________
                                             WILSON C. FREEMAN




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                       CERTIFICATE OF SERVICE

      I hereby certify that on April 29, 2024, I served this document via the

Court’s electronic filing system and/or via U.S. Mail to the Defendants.



                                           /s/ Wilson C. Freeman________
                                           WILSON C. FREEMAN




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